Case 1:13-cv-13086-JGD Document 38-5 Filed 07/15/15 Page1iof4

Exhibit D
Case 1:13-cv-13086-JGD Document 38-5 Filed 07/15/15 Page 2 of 4

Chantelle D'Angelo

From: Dmitry Lev, Esq. <dlev@ieviaw.net>

Sent: Friday, October 24, 2014 6:02 PM

To: Chantelle D'Angelo

Ce: Douglas Louison

Subject: Re: Niles v. Town of Wakefield et al

Attachments: Niles S Incoming RPD Responses.pdf; Niles S Incoming Int Answers.pdf

Ms. D'Angelo and Mr. Louison,

Attached please find Plaintiff's Responses to Defendants' Requests for Production of Documents and Plaintiff's Answers
to Defendants’
interrogatories.

Very truly yours,

Dmitry Lev, Esq.

Law Offices of D. Lev, P.C.
134 Main Street
Watertown, MA 02472
(617} 556-9990 tei

(617) 830-0005 fax
dlev@levlaw.net

Case 1:13-cv-13086-JGD Document 38-5 Filed 07/15/15 Page 3of4

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

)
SIMEON NILES, )
Plaintiff )
)

V. ) Civil No. 1:13-cv-13086-GAO
)
)
TOWN OF WAKEFIELD, STEVEN SKORY, )
KENNETH SILVA, JOHN WHALEY, and )
SCOTT REBOULET, )
Defendants )
)

PLAINTIFF’S RESPONSES AND OBJECTIONS TO DEFENDANTS’ FIRST REQUEST
FOR PRODUCTION OF DOCUMENTS

Pursuant to Rule 34 of the Fed. R. Civ. P., Plaintiff hereby responds to Defendants’ First Request
for Production of Documents based upon information and knowledge reasonably available to
Plaintiff,

GENERAL OBJECTIONS

1. Plaintiff objects to any and all Requests to the extent they are vague, overly broad,
unduly burdensome, harassing, involve undue expense, and/or are irrelevant to the claims
and defenses of the parties, and not reasonably calculated to lead to the discovery of
relevant or admissible evidence.

2. Plaintiff objects to each Request to the extent it could be construed as requesting
disclosure of information prepared by or at the direction of Plaintiff's attorney; to the
extent that it could be construed as requesting disclosure of information prepared by or
for Plaintiff in contemplation of litigation or trial; to the extent that it could be construed
as requesting disclosure, release, or review of confidential communications by and
between Plaintiff and his attorneys; and to the extent it is otherwise covered by the
attorney-client privilege and the attorney work-product privilege. The inadvertent
preduction of any document protected by an applicable privilege or doctrine is not
intended to constitute, and shall not constitute, a waiver in whole or in part of such
privilege or doctrine.

3. Plaintiff objects to any and all Requests to the extent they seek the identification of
documents, writings, records, or publications in the public domain since such information
is equally available to Defendants.
Case 1:13-cv-13086-JGD Document 38-5 Filed 07/15/15 Page 4of4

4. Plaintiff objects to any and all Requests that are not reasonably limited in time and/or
scope.

5. Plaintiff objects to the Requests to the extent that they call for documents that are not in
Plaintiffs possession, custody or control. Plaintiff objects to the Requests to the extent
that they purport to request production of documents in the possession or subject to the
control of third parties.

6. Any response by Plaintiff to any individual Request stating that Plaintiff will provide
documents is not intended as a representation by Plaintiff that such documents exist. To
the contrary, any such response is subject to the existence of such documents.

7. Plaintiff objects to each and every Request to the extent it seeks cumulative or duplicative
information.

8. Plaintiff's Responses are given without in any way waiving or intending to waive, but on
the contrary, intending to preserve: (a) all questions as to the competency, relevancy,
materiality, privilege, authenticity, and admissibility of evidence, for any purpose, of the
Responses, or subject matter thereof, in any subsequent proceedings in, or the trial of, this
action; (b) the right to object to the use of any of the Responses produced in any
subsequent proceedings in, or the trial of, this action; (c) the right to object on any
ground, at any time, or to a demand for further discovery procedures involving or relating
to the Responses herein provided; and (d) the right to review, correct, add to, or clarify
any of the Responses to the Requests. Subject to the above General Objections, which are
hereby interposed as to each Request, Plaintiff specifically responds and objects as
follows:

Request No. 1

Copies of any and ali doctors’ reports and/or hospital reports or other medical records concerning
the treatment or evaluation by any physicians, psychiatrists, psychologists, dentists, nurses or any
other medical practitioner with reference to the plaintiff, including but not limited to Dr.
Shahroki [sic], Wakefield Physical Therapy, Dutton Family Care Associates, Lahey Burlington
Psychiatry and Behavioral Medicine, Lahey Clinic Neurosurgery, and the Lahey Clinic. A
release for the same is attached for plaintiff's signature.

Response: Objection. The request is not specific enough as to time and scope, and is
therefore vague and unduly burdensome. Subject to and without waiver of this or the
General Objections set forth above, Plaintiff states that, limiting the scope of the request
to records in connection with the incident that is the subject of this action, responsive
documents in the Plaintiff's possession, custody, or control were provided on or about
June 2, 2014, within the Plaintiff's Rule 26 Disclosures. Plaintiff is in the process of
requesting updated documents from the aforementioned providers, and will supplement
this response at such time as those documents are received. Plaintiff reserves the right to
supplement this Response.
